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                                s/ Ryan Jackson




                        s/ Jonathan E. Hawley
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s/ Jonathan E. Hawley
